      Case 1:23-mi-99999-UNA Document  2282-14 Filed 07/19/23 Page 1 of 6e-Filed 5/18/2023 9:01 AM
                                 2023CV00526




                                                                                                         Tiki Brown
                     IN THE STATE COURT OF CLAYTON COUNTY                                       Clerk of State Court
                                                                                           Clayton County, Georgia
                                STATE OF GEORGIA                                                     Latasha Currie


RONALD WRIGHT,                               )
                                             )
               Plaintiff,                    )      CIVIL ACTION FILE NO.: 2023CV00526
       v.                                    )
                                             )
SANCHEZ ARREDONDO and                        )
COBRA CARRIER, LLC,                          )
                                             )
               Defendants.                   )

                            RULE 5.2 CERTIFICATE OF SERVICE

       This is to certify that pursuant to Uniform Superior Court Rule 5.2, I have this day served

counsel for all parties in the above-referenced matter with a copy of Defendants Sanchez

Arredondo and Cobra Carrier, LLC’s Response to Plaintiff’s First Request for Admissions

using Odyssey eFileGA which will automatically send e-mail notification of such filing to all

parties of record and/or by depositing a copy of same with the United States Postal Service, with

first class postage prepaid, as follows:

                                      Edward Hardrick, Esq.
                                    Morgan & Morgan, PLLC
                                   178 S. Main Street, Unit 300
                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                 FAIN, MAJOR & BRENNAN, P.C.

                                                 /s/ Robyn M. Roth
                                                 ROBYN M. ROTH
One Premier Plaza                                Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900               Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                Cobra Carrier, LLC
(404) 688-6633
rroth@fainmajor.com
      Case 1:23-mi-99999-UNA Document 2282-14 Filed 07/19/23 Page 2 of 6




                      IN THE STATE COURT OF CLAYTON COUNTY
                                 STATE OF GEORGIA

RONALD WRIGHT,                                 )
                                               )
                Plaintiff,                     )        CIVIL ACTION FILE NO.: 2023CV00526
        v.                                     )
                                               )
SANCHEZ ARREDONDO and                          )
COBRA CARRIER, LLC,                            )
                                               )
                Defendants.                    )

      DEFENDANTS SANCHEZ ARREDONDO’S AND COBRA CARRIER, LLC’S
         RESPONSE TO PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS

        COMES NOW, Defendant, Sanchez Arredondo and Cobra Carrier, LLC, by counsel and

for their Answer to Plaintiff’s First Requests for Admission, state as follows:

                                                   1.

        Please admit that this action brought against the Defendants properly and correctly name

the parties to be sued in this case.

        RESPONSE: Defendants admit that the Amended Complaint is correct. All other

matters are denied.

                                                   2.

        Please admit that jurisdiction for the Complaint filed by Plaintiff is properly brought before

this Court in Clayton County, Georgia.

        RESPONSE: Defendants are without sufficient knowledge to admit or deny and

therefore it is denied.

                                                   3.

        Please admit that the service of process against the Defendants was proper.
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        RESPONSE: Defendants admit that express permission was provided to Defense

Counsel to accept and acknowledge service. All other matters are denied.

                                                    4.

        Please admit that Defendant SANCHEZ ARREDONDO, who operated the tractor-trailer

vehicle had permission to operate the tractor trailer from and/or was operating the tractor-trailer

on behalf of Defendant Cobra Carrier, LLC at the time of the subject collision.

        RESPONSE: Defendants admit that Eusebio Sanchez operated the tractor-trailer

vehicle with permission and on behalf of Defendant Cobra Carrier, LLC at the time of the

subject incident. All other matters are denied.

                                                    5.

        Please admit that Defendant SANCHEZ ARREDONDO was negligent in the operation of

a tractor trailer which resulted in the subject collision with Plaintiff's vehicle.

    RESPONSE: Defendants deny the request.

                                                    6.

    Admit that Defendant SANCHEZ ARREDONDO pled guilty to, paid the fine for, or

knowingly forfeited the bond to charges stemming from a citation in connection with the collision.

    RESPONSE: Defendants admit that Defendant Eusebio Sanchez received a citation and

paid the citation. All other matters are denied.

                                                    7.

        Please admit that Plaintiff was injured in the subject collision.

        RESPONSE: Defendants deny the request.

                                                    8.

        Please admit that the Plaintiff’s actions did not cause or contribute to the subject collision.
      Case 1:23-mi-99999-UNA Document 2282-14 Filed 07/19/23 Page 4 of 6




       RESPONSE: Defendants deny the request.


                                                   9.

       Please admit that Plaintiff incurred medical expenses for treatment of injuries resulting

from the subject collision.

       RESPONSE: Defendants are without sufficient knowledge to admit or deny the

request, therefore, it is denied.

                                                   10.

       Please admit that Plaintiff's medical expenses were reasonable and necessary for the care

and treatment of the injuries sustained in the subject collision.

       RESPONSE: Defendants are without sufficient knowledge to admit or deny the

request, therefore, it is denied.

                                                   11.

       Please admit that there are no other individuals besides Plaintiff and Defendant SANCHEZ

ARREDONDO who caused or contributed to the subject collision.

       RESPONSE: Defendants admit that the parties are the only known individuals who

could have cause or contributed to the subject incident. All other matters are denied.

                                                   12.

         Please admit that there are no other individuals besides Defendant SANCHEZ

ARREDONDO who caused or contributed to the subject collision.

       RESPONSE: Defendants deny the request.

                                                   13.

       Please admit that you have not seen Plaintiff since the day of the accident.

       RESPONSE: Defendants admit the request.
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                                               14.

       Please admit that you had not seen Plaintiff at any point in time prior to the day of the

accident.

       RESPONSE: Defendants admit the request.

       This Request for Admissions is served upon you together with Plaintiff’s Complaint.

       Respectfully submitted, this 18th day of May, 2023.

                                                FAIN, MAJOR & BRENNAN, P.C.

                                                /s/ Robyn M. Roth
                                                ROBYN M. ROTH
 One Premier Plaza                              Georgia Bar No. 153025
 5605 Glenridge Drive NE, Suite 900             Counsel for Defendants Sanchez Arredondo
 Atlanta, GA 30342                              and Cobra Carrier, LLC
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 rroth@fainmajor.com
      Case 1:23-mi-99999-UNA Document 2282-14 Filed 07/19/23 Page 6 of 6



                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                                  )
                                                )
               Plaintiff,                       )     CIVIL ACTION FILE NO.: 2023CV00526
       v.                                       )
                                                )
SANCHEZ ARREDONDO and                           )
COBRA CARRIER, LLC,                             )
                                                )
               Defendants.                      )

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Defendants Sanchez Arredondo

and Cobra Carrier, LLC’s Response to Plaintiff’s First Request for Admissions with the Clerk

of Court using Odyssey eFileGA which will automatically send e-mail notification of such filing

to all parties of record and/or by depositing a copy of same with the United States Postal Service,

with first class postage prepaid, as follows:

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                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                    FAIN, MAJOR & BRENNAN, P.C.

                                                    /s/ Robyn M. Roth
                                                    ROBYN M. ROTH
 One Premier Plaza                                  Georgia Bar No. 153025
 5605 Glenridge Drive NE, Suite 900                 Counsel for Defendants Sanchez Arredondo
 Atlanta, GA 30342                                  and Cobra Carrier, LLC
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